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                        UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA

NORFOLK/NEWPORT NEWS DIVISION
                                   Monday, April 16, 2018
MINUTES OF PROCEEDINGS IN              Open Court
PRESENT: THE HONORABLE RAYMOND A. JACKSON, U.S. DISTRICT JUDGE
Deputy Clerk: P. Thompson                                     Reporter: Janet Collins, OCR


 Set: 9:30 a.m.                Started:     9:30 a.m.              Ended: 5:25 p.m.
                                            1:30 p.m.                     2:00 p.m.

 Case No.   4:17cr45
                                   United States of America
                                             v.
                        Joseph James Cain Benson, Mark Xavier Wallace,
                         Brian Lamar Brown, and Rosuan Romeo Kindell


  AUSA’s Lisa McKeel and Howard Zlotnick appeared on behalf of the Govt.
  Attorney Lawrence Woodward, c/a appeared with defendant Joseph James Cain
 Benson, in custody.
  Attorney Andrew Sacks, Ret. appeared with defendant Mark Xavier Wallace, in
 custody.
  Attorney Trey Kelleter, c/a appeared with defendant Bryan Lamar Brown, in
 custody.
  Attorney Jamison Rasberry, c/a appeared with defendant Rosuan Romeo
 Kindell, in custody.


  Matter came on for trial by jury (Day #5).
  Petit jurors (12 & 2 alternate) appeared pursuant to adjournment last
 Friday, 4/13/18.


  Out of the presence of the jury, defendant Benson sworn and Court conducted
 a Frye Inquiry re: a new plea offer.


 (Lunch Recess: 12:25 p.m. – 2:50 p.m.)                              (continued on page 2)
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 Out of the presence of the jury, defendant’s objected to testimony of
certain witnesses – Court reiterated prior rulings on the record. Court
DENIED defendant Kindell’s motion for a mistrial.


Govt continued presentation of evidence – witnesses sworn and testified.
Exhibits admitted.
Objections heard and rulings made on the record.
Stipulations read into the record.
Government rest.


 Out of the presence of the jury, Court DENIES defendant Brown’s motion for
a mistrial.
 Out of the presence of the jury, Defendants Benson, Wallace, Brown and
Kindell Motion for Judgment of Acquittal Pursuant to Rule 29 – Argued –
Court DENIES Motions for reasons stated on the record.
 Out of the presence of the jury, Court advises defendants of their rights
re: testifying – defendants will not testify.


Defendant Benson rest.
Defendant Wallace rest.
Defendant Brown presented evidence. Exhibit admitted. Defendant Brown rest.
Deft Kindell rest.


 Out of the presence of the jury, Court DENIED defendant’s Renewed Judgment
of Acquittal Pursuant to Rule 29 for reasons previously stated on the
record.
 Out of the presence of the jury, Court and counsel conducted charge
conference (1:30 – 2:00). Objections to the charge stated on the record.
 Out of the presence of the jury, Court conducted FRYE inquiry of defendant
Benson re: new plea offer.


                                                          (continued on page 3)
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 Closing arguments begun.


 Out of the presence of the jury, defendant Brown motion for mistrial –
Argued – Court DENIED the motion.


 Jurors excused and Court adjourned to return on Tuesday, April 17, 2018 at
10:00 a.m.
 Defendants remanded.
